DocuSign Envelope ID: 809A67D0-4168-437E-87C6-196B8970A56F
       Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 1 of 28




                                        IN THE UNITED STATES DISTRICT COURT
                                       FOR THE SOUTHERN DISTRICT OF FLORIDA


             Judith Anne Hayes, individually and on behalf of W.H., a minor,
             Robyn and John McCarthy, individually and on behalf                   CASE NO:
             of L.M., a minor, Amanda Banek, individually and
             on behalf of D.B. and B.B, minor children, Kas Arone-
             Miller, individually and on behalf of R.M. and L.M.,
             Minor children, Alisha Todd, individually and on behalf
             of J.T, a minor, Jamie Kinder, individually and on
             behalf of R.K., a minor, Chris Rodriguez, individually
             and on behalf of J.D.-F., a minor, Jack Koch, individually
             and on behalf of R.K, B.K., and A.K., minor children,
             Kristen Thompson, individually and on behalf of P.T., a
             minor, Eren Dooley, individually and on behalf of G.D.,
             a minor, Tom Collins, individually and on behalf of Q.C.,
             a minor,

                     Plaintiffs,
             v.

             GOVERNOR RONALD DION DESANTIS, in his official
             Capacity as Governor of the State of Florida; FLORIDA
             DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
             in his official capacity as Commissioner of the Florida Department
             of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
             DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
             COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
             BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
             SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
             VOLUSIA COUNTY SCHOOL BOARD,

                   Defendants.
             ___________________________________________________________/

                                           DECLARATION OF AMANDA BANEK

                     COMES NOW, Amanda Banek and pursuant to 28 U.S.C. § 1748, declares under penalty

             of perjury that the foregoing is true and correct:

                  1. My name is Amanda Banek, and I am over 18 years old and have personal knowledge of
                     the facts as stated herein.

                  2. I have three children who attend Palm Beach Public Schools.




                                                       Exhibit "A"
DocuSign Envelope ID: 809A67D0-4168-437E-87C6-196B8970A56F
       Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 2 of 28

                                                                                   Declaration of Amanda Banek
                                                                                                    Page 2 of 2


                 3. D.B., is five years old and has Asthma and a Speech Impairment. D.B. has an IEP.

                 4. B.B., is thirteen years old and has Asthma, attention deficit hyperactive disorder, anxiety,
                    a visual processing disorder and a speech impairment. D.B. has an IEP.

                 5. R.B. is ten years old and has a 504 plan and is terrified of attending school and bring the
                    Covid-19 virus home to his brother and sister.

                 6. The children’s treating doctors and specialists have informed the me and my husband that
                    it is too dangerous to return to brick-and mortar school without such precautions as
                    following the recommended CDC guidelines of mandatory masking and regular testing in
                    schools.

                 7. Florida Virtual School, Palm Beach Virtual School and other online programs do not
                    provide FAPE in the least restrictive environment and do not provide the necessary
                    supports, services and accommodations, including direct instruction.

                 8. I am seeking a reinstatement of a “full panoply of services” including but not limited to
                    requirements to follow CDC guidelines including the wearing of masks in schools and live
                    synchronous and asynchronous instruction with the same curriculum as in person
                    instruction and the ability to interact with a student’s teacher and peers equal to the options
                    provided to nondisabled students.



             FURTHER DECLARANT SAYETH NAUGHT.



                                                                    8/6/2021
             ______________________________                        ____________________________
             Amanda Banek                                          Date




                                                       Exhibit "A"
DocuSign Envelope ID: FD22753E-685A-4BDF-ADE8-8E95DC8C5AE4
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                                      IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF FLORIDA


            Judy Hayes, individually and on behalf of W.H., a minor,
            Robyn and John McCarthy, individually and on behalf                      CASE NO:
            of L.M., a minor, Amanda Banek, individually and
            on behalf of D.B. and B.B, minor children, Kas Arone-
            Miller, individually and on behalf of R.M. and L.M.,
            Minor children, Alisha Todd, individually and on behalf
            of J.T, a minor, Jamie Kinder, individually and on
            behalf of R.K., a minor, Chris Rodriguez, individually
            and on behalf of J.D.-F., a minor, Jack Koch, individually
            and on behalf of R.K, B.K., and A.K., minor children,
            Kristen Thompson, individually and on behalf of P.T., a
            minor, Eren Dooley, individually and on behalf of G.D.,
            a minor, Tom Collins, individually and on behalf of Q.C.,
            a minor,

                    Plaintiffs,
            v.

            GOVERNOR RONALD DION DESANTIS, in his official
            Capacity as Governor of the State of Florida; FLORIDA
            DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
            in his official capacity as Commissioner of the Florida Department
            of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
            DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
            COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
            BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
            SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
            VOLUSIA COUNTY SCHOOL BOARD,

                  Defendants.
            ___________________________________________________________/

                                           DECLARATION OF TOM COLLINS

                    COMES NOW, Tom Collins and pursuant to 28 U.S.C. § 1748, declares under penalty of

            perjury that the foregoing is true and correct:

                 1. My name is Tom Collins, and I am over 18 years old and have personal knowledge of the
                    facts as stated herein.

                 2. I am the father of Q.C., my ten-year-old son who lives with Asthma and Anxiety.




                                                     Exhibit "A"
DocuSign Envelope ID: FD22753E-685A-4BDF-ADE8-8E95DC8C5AE4
       Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 4 of 28

                                                                                     Declaration of Tom Collins
                                                                                                     Page 2 of 2


                3. Q.C. goes to school in Palm Beach County School Board. Q.C. has a 504 plan.

                4. His treating doctors and specialists have stated that my child is at high risk for severe
                   complications due to COVID infection. In order to decrease his risk, he should attend
                   virtual school, wear a mask at all times in public places indoors, and avoid crowded indoor
                   and outdoor places. No one can guarantee his safety.

                5. It will be anxiety-producing for Q.C. to have to share a classroom with unmasked children,
                   knowing about the COVID-19 risks we have been educated about.

                6. Q.C. cannot attend Florida Virtual School or Palm Beach County Virtual school as neither
                   provides an equal education.

                7. I am seeking a reinstatement of a “full panoply of services” including but not limited to
                   requirements to follow CDC guidelines including the wearing of masks in schools and live
                   synchronous and asynchronous instruction with the same curriculum as in person
                   instruction and the ability to interact with a student’s teacher and peers equal to the options
                   provided to nondisabled students.



            FURTHER DECLARANT SAYETH NAUGHT.



                                                                  8/6/2021
            ______________________________                        ____________________________
            Tom Collins                                           Date




                                                     Exhibit "A"
Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 5 of 28




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


   Judy Hayes, individually and on behalf of W.H., a minor,
   Robyn and John McCarthy, individually and on behalf                     CASE NO:
   of L.M., a minor, Amanda Banek, individually and
   on behalf of D.B. and B.B, minor children, Kas Arone-
   Miller, individually and on behalf of R.M. and L.M.,
   Minor children, Alisha Todd, individually and on behalf
   of J.T, a minor, Jamie Kinder, individually and on
   behalf of R.K., a minor, Chris Rodriguez, individually
   and on behalf of J.D.-F., a minor, Jack Koch, individually
   and on behalf of R.K, B.K., and A.K., minor children,
   Kristen Thompson, individually and on behalf of P.T., a
   minor, Eren Dooley, individually and on behalf of G.D.,
   a minor, Tom Collins, individually and on behalf of Q.C.,
   a minor,

           Plaintiffs,
   v.

   GOVERNOR RONALD DION DESANTIS, in his official
   Capacity as Governor of the State of Florida; FLORIDA
   DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
   in his official capacity as Commissioner of the Florida Department
   of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
   DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
   COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
   BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
   SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
   VOLUSIA COUNTY SCHOOL BOARD,

         Defendants.
   ________________________________________________________/

                                DECLARATION OF EREN DOOLEY

           COMES NOW, Eren Dooley and pursuant to 28 U.S.C. § 1748, declares under penalty of

   perjury that the foregoing is true and correct:

        1. My name is Eren Dooley, and I am over 18 years old and have personal knowledge of the
           facts as stated herein.

        2. I am the mother of G.D., my ten-year-old daughter who lives with Asthma and Anxiety.




                                          Exhibit "A"
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                                                                          Declaration of Eren Dooley
                                                                                          Page 2 of 2


      3. G.D goes to school in Hillsborough County. She is in a general education setting and has
         an Individualized Educational Plan otherwise known as an IEP.

      4. G.D.’s anxiety is triggered by being in school without everyone wearing masks and her
         anxiety is triggered by staying home and being isolated. This anxiety is impacting her
         education. Her parents are in a “no win” situation.

      5. Her treating doctors and specialists have informed me that it is dangerous to return to brick-
         and mortar school without such precautions as following the recommended CDC
         guidelines of mandatory masking and regular testing in schools.

      6. Florida Virtual School or other online programs do not provide FAPE or the necessary
         supports, services and accommodations, including direct instruction and socialization with
         her peers.

      7. I am seeking a reinstatement of a “full panoply of services” including but not limited to
         requirements to follow CDC guidelines including the wearing of masks in schools and live
         synchronous and asynchronous instruction with the same curriculum as in person
         instruction and the ability to interact with a student’s teacher and peers equal to the options
         provided to nondisabled students.


   FURTHER DECLARANT SAYETH NAUGHT.



   ______________________________                        ____________________________
   Eren Dooley                                           Date




                                         Exhibit "A"
DocuSign Envelope ID: 460C1FDD-D9BC-4BA3-85C0-D76D48159500
       Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 7 of 28




                                       IN THE UNITED STATES DISTRICT COURT
                                      FOR THE SOUTHERN DISTRICT OF FLORIDA


            Judith Anne Hayes, individually and on behalf of W.H., a
            minor, Robyn and John McCarthy, individually and on                  CASE NO:
            behalf of L.M., a minor, Amanda Banek, individually
            and
            on behalf of D.B. and B.B, minor children, Kas Arone-
            Miller, individually and on behalf of R.M. and L.M.,
            Minor children, Alisha Todd, individually and on behalf
            of J.T, a minor, Jamie Kinder, individually and on behalf
            of R.K., a minor, Chris Rodriguez, individually and on
            behalf of J.D.-F., a minor, Jack Koch, individually and on
            behalf of R.K, B.K., and A.K., minor children, Kristen
            Thompson, individually and on behalf of P.T., a minor,
            Eren Dooley, individually and on behalf of G.D., a
            minor, Tom Collins, individually and on behalf of Q.C., a
            minor,
                    Plaintiffs,
            v.

            GOVERNOR RONALD DION DESANTIS, in his official
            Capacity as Governor of the State of Florida; FLORIDA
            DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
            in his official capacity as Commissioner of the Florida Department
            of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
            DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
            COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
            BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
            SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
            VOLUSIA COUNTY SCHOOL BOARD,

                  Defendants.
            ___________________________________________________________/

                                DECLARATION OF JUDITH ANNE GARABO HAYES

                    COMES NOW, Judith Anne Garabo Hayes and pursuant to 28 U.S.C. § 1748, declares

            under penalty of perjury that the foregoing is true and correct:

                1. My name is Judith Anne Garabo Hayes, and I am over 18 years old and have personal
                   knowledge of the facts as stated herein.

                2. I am the mother of W.H., my ten-year-old son who lives with Down Syndrome.




                                                      Exhibit "A"
DocuSign Envelope ID: 460C1FDD-D9BC-4BA3-85C0-D76D48159500
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                                                                              Declaration of Judith Anne Hayes
                                                                                                    Page 2 of 2


                3. W.H goes to school in Orange County. He is in a general education setting on a modified
                   curriculum also known as an Access Point curriculum, and has an Individualized
                   Educational Plan otherwise known as an IEP.

                4. It is my understanding that prior to the Delta Variant, children with Down Syndrome were
                   10 time more likely to be hospitalized and 4 times more like to die if they contracted
                   COVID-19. The risks are higher now with the Delta Variant being so prevalent. As such,
                   I believe that it is too dangerous to return to brick-and mortar school without such
                   precautions as following the recommended CDC guidelines such as mandatory masking
                   and regular testing in schools.

                5. W.H. cannot attend Florida Virtual School or Orange County Virtual school as neither
                   provides FAPE; an Access Point Curriculum or the necessary supports, services and
                   accommodations as identified in his IEP, including direct instruction from a special
                   education teacher.

                6. I am in fear for the safety of my child and the only option Orange County offered was to
                   place W.H. in an unsafe classroom.

                7. I am seeking a reinstatement of a “full panoply of services” including but not limited to
                   requirements to follow CDC guidelines including the wearing of masks in schools and live
                   synchronous and asynchronous instruction with the same curriculum as in person
                   instruction and the ability to interact with a student’s teacher and peers equal to the options
                   provided to nondisabled students.



            FURTHER DECLARANT SAYETH NAUGHT.


                                                                   8/6/2021
            ______________________________                        ____________________________
            Judith Anne Garabo Hayes                              Date




                                                      Exhibit "A"
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                                Exhibit "A"
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                                 Exhibit "A"
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                                 Exhibit "A"
Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 12 of 28




                                 Exhibit "A"
DocuSign Envelope ID: BE6C1AA6-73A8-4D34-A029-59C65CBB7848
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                                       IN THE UNITED STATES DISTRICT COURT
                                      FOR THE SOUTHERN DISTRICT OF FLORIDA


            Judy Hayes, individually and on behalf of W.H., a minor,
            Robyn and John McCarthy, individually and on behalf                   CASE NO:
            of L.M., a minor, Amanda Banek, individually and
            on behalf of D.B. and B.B, minor children, Kas Arone-
            Miller, individually and on behalf of R.M. and L.M.,
            Minor children, Alisha Todd, individually and on behalf
            of J.T, a minor, Jamie Kinder, individually and on
            behalf of R.K., a minor, Chris Rodriguez, individually
            and on behalf of J.D.-F., a minor, Jack Koch, individually
            and on behalf of R.K, B.K., and A.K., minor children,
            Kristen Thompson, individually and on behalf of P.T., a
            minor, Eren Dooley, individually and on behalf of G.D.,
            a minor, Tom Collins, individually and on behalf of Q.C.,
            a minor,

                     Plaintiffs,
            v.

            GOVERNOR RONALD DION DESANTIS, in his official
            Capacity as Governor of the State of Florida; FLORIDA
            DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
            in his official capacity as Commissioner of the Florida Department
            of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
            DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
            COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
            BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
            SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
            VOLUSIA COUNTY SCHOOL BOARD,
            ________________________________________________________/

                                             DECLARATION OF JACK KOCH

                     COMES NOW, Jack Koch and pursuant to 28 U.S.C. § 1748, declares under penalty of

            perjury that the foregoing is true and correct:

                 1. My name is Jack Koch, and I am over 18 years old and have personal knowledge of the
                    facts as stated herein.

                 2. I have three children in the Pasco County public schools.




                                                      Exhibit "A"
DocuSign Envelope ID: BE6C1AA6-73A8-4D34-A029-59C65CBB7848
      Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 14 of 28

                                                                                       Declaration of Jack Koch
                                                                                                     Page 2 of 2

                3. R.K. is fourteen years old and has attention deficit hyperactive disorder and a specific
                   learning disability. R.K. has a 504 plan.

                4. B.K. is twelve years old son and has an autism spectrum disorder, attention deficit
                   hyperactive disorder and a speech impairment. B.K. has an IEP. B.K. attends a magnet
                   school program. If B.K. does not attend in person, he will lose his spot in the magnet school
                   program. No one from the district has provided me with any options or accommodations
                   so that my son can remain in his magnet school program and receive all the benefits of that
                   program.

                5. A.K, is eight years old and has a Speech Impairment. A.K. has an IEP.

                6. I believe that it is dangerous to return to brick-and mortar school without such precautions
                   as following the recommended CDC guidelines of mandatory masking and regular testing
                   in schools.

                7. Florida Virtual School, Pasco’s virtual school and other online programs do not provide
                   FAPE in the least restrictive environment and do not provide the necessary supports,
                   services and accommodations, including direct instruction. Further, attending an online
                   program would result in B.K. losing the opportunity to attend a magnet program and the
                   benefits resulting therefrom.

                8. I am seeking a reinstatement of a “full panoply of services” including but not limited to
                   requirements to follow CDC guidelines including the wearing of masks in schools and live
                   synchronous and asynchronous instruction with the same curriculum as in person
                   instruction and the ability to interact with a student’s teacher and peers equal to the options
                   provided to nondisabled students.


            FURTHER DECLARANT SAYETH NAUGHT.


                                                                   8/6/2021
            ______________________________                        ____________________________
            Jack Koch                                             Date




                                                      Exhibit "A"
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                                 Exhibit "A"
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                                 Exhibit "A"
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                                 Exhibit "A"
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                                 Exhibit "A"
Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 19 of 28




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


    Judy Hayes, individually and on behalf of W.H., a minor,
    Robyn and John McCarthy, individually and on behalf                     CASE NO:
    of L.M., a minor, Amanda Banek, individually and
    on behalf of D.B. and B.B, minor children, Kas Arone-
    Miller, individually and on behalf of R.M. and L.M.,
    Minor children, Alisha Todd, individually and on behalf
    of J.T, a minor, Jamie Kinder, individually and on
    behalf of R.K., a minor, Chris Rodriguez, individually
    and on behalf of J.D.-F., a minor, Jack Koch, individually
    and on behalf of R.K, B.K., and A.K., minor children,
    Kristen Thompson, individually and on behalf of P.T., a
    minor, Eren Dooley, individually and on behalf of G.D.,
    a minor, Tom Collins, individually and on behalf of Q.C.,
    a minor,

            Plaintiffs,
    v.

    GOVERNOR RONALD DION DESANTIS, in his official
    Capacity as Governor of the State of Florida; FLORIDA
    DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
    in his official capacity as Commissioner of the Florida Department
    of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
    DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
    COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
    BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
    SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
    VOLUSIA COUNTY SCHOOL BOARD,

          Defendants.
    ________________________________________________________/

                             DECLARATION OF KAS ARONE-MILLER

            COMES NOW, Kas Arone-Miller and pursuant to 28 U.S.C. § 1748, declares under

    penalty of perjury that the foregoing is true and correct:

         1. My name is Kas Arone- Miller, and I am over 18 years old and have personal knowledge
            of the facts as stated herein.

         2. I have two children who attend Hillsborough County Public schools.




                                           Exhibit "A"
Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 20 of 28

                                                                      Declaration of Kas Arone-Miller
                                                                                          Page 2 of 2


       3. R.M., is three years old and L.M. is seven years old. Both children have an autism spectrum
          disorder and both my children have IEPs.

       4. R.M. attends a public school program specifically designed for disabled students. The
          school setting provides direct special education instruction and related services like therapy
          and social emotional supports. There is no online option and in order to maintain her spot
          in this program, she must attend in person or find another school to attend.

       5. L.M. also has an autism spectrum disorder and attends public school.

       6. The children’s treating doctors and specialists have informed the sister’s mother that it is
          too dangerous to return to brick-and mortar school without such precautions as following
          the recommended CDC guidelines of mandatory masking and regular testing in schools.

       7. I am seeking a reinstatement of a “full panoply of services” including but not limited to
          requirements to follow CDC guidelines including the wearing of masks in schools and live
          synchronous and asynchronous instruction with the same curriculum as in person
          instruction and the ability to interact with a student’s teacher and peers equal to the options
          provided to nondisabled students.


    FURTHER DECLARANT SAYETH NAUGHT.



    ______________________________                       ____________________________
                                                              08/05/2021
          Kas Arone-Miller                                         Date




                                          Exhibit "A"
DocuSign Envelope ID: 235CB29C-00A8-4B5B-AD59-2CD2EF2D2CD0
      Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 21 of 28




                                      IN THE UNITED STATES DISTRICT COURT
                                     FOR THE SOUTHERN DISTRICT OF FLORIDA


            Judith Anne Hayes, individually and on behalf of W.H., a minor,
            Robyn and John McCarthy, individually and on behalf                    CASE NO:
            of L.M., a minor, Amanda Banek, individually and
            on behalf of D.B. and B.B, minor children, Kas Arone-
            Miller, individually and on behalf of R.M. and L.M.,
            Minor children, Alisha Todd, individually and on behalf
            of J.T, a minor, Jamie Kinder, individually and on
            behalf of R.K., a minor, Chris Rodriguez, individually
            and on behalf of J.D.-F., a minor, Jack Koch, individually
            and on behalf of R.K, B.K., and A.K., minor children,
            Kristen Thompson, individually and on behalf of P.T., a
            minor, Eren Dooley, individually and on behalf of G.D.,
            a minor, Tom Collins, individually and on behalf of Q.C.,
            a minor,

                    Plaintiffs,
            v.

            GOVERNOR RONALD DION DESANTIS, in his official
            Capacity as Governor of the State of Florida; FLORIDA
            DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
            in his official capacity as Commissioner of the Florida Department
            of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
            DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
            COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
            BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
            SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
            VOLUSIA COUNTY SCHOOL BOARD,

                  Defendants.
            ________________________________________________________/

                                       DECLARATION OF CHRIS RODRIGUEZ

                    COMES NOW, Chris Rodriguez and pursuant to 28 U.S.C. § 1748, declares under

            penalty of perjury that the foregoing is true and correct:

                 1. My name is Chris Rodriguez, and I am over 18 years old and have personal knowledge of
                    the facts as stated herein.




                                                     Exhibit "A"
DocuSign Envelope ID: 235CB29C-00A8-4B5B-AD59-2CD2EF2D2CD0
      Case 1:21-cv-22863-KMM Document 17-1 Entered on FLSD Docket 08/10/2021 Page 22 of 28

                                                                                Declaration of Chris Rodriguez
                                                                                                   Page 2 of 2

                2. I am the parent and guardian of J.D.-F., my four year old son who is living with Chronic
                   Kidney Disease – Stage 3.

                3. J.D.-F., attends a Broward County public school and has an IEP.

                4. His treating doctors and specialists have informed his parents, that it is too dangerous to
                   return to brick-and mortar school without such precautions as following the recommended
                   CDC guidelines of mandatory masking and regular testing in schools. His doctors have
                   advised that if he catches the Covid-19 virus it could be fatal.

                5. J.D.-F. has three other siblings who attend public school and are not yet eligible to be
                   vaccinated. Due to the dangers facing J.D.-F., none of his siblings will be able to attend
                   public school unless recommended CDC guidelines of mandatory masking and regular
                   testing in schools are implemented.

                6. I am seeking a reinstatement of a “full panoply of services” including but not limited to
                   requirements to follow CDC guidelines including the wearing of masks in schools and live
                   synchronous and asynchronous instruction with the same curriculum as in person
                   instruction and the ability to interact with a student’s teacher and peers equal to the options
                   provided to nondisabled students.


            FURTHER DECLARANT SAYETH NAUGHT.


                                                                  8/6/2021
            ______________________________                        ____________________________
            Chris Rodriguez                                       Date




                                                     Exhibit "A"
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA


    Judy Hayes, individually and on behalf of W.H., a minor,
    Robyn and John McCarthy, individually and on behalf                   CASE NO:
    of L.M., a minor, Amanda Banek, individually and
    on behalf of D.B. and B.B, minor children, Kas Arone-
    Miller, individually and on behalf of R.M. and L.M.,
    Minor children, Alisha Todd, individually and on behalf
    of J.T, a minor, Jamie Kinder, individually and on
    behalf of R.K., a minor, Chris Rodriguez, individually
    and on behalf of J.D.-F., a minor, Jack Koch, individually
    and on behalf of R.K, B.K., and A.K., minor children,
    Kristen Thompson, individually and on behalf of P.T., a
    minor, Eren Dooley, individually and on behalf of G.D.,
    a minor, Tom Collins, individually and on behalf of Q.C.,
    a minor,

            Plaintiffs,
    v.

    GOVERNOR RONALD DION DESANTIS, in his official
    Capacity as Governor of the State of Florida; FLORIDA
    DEPARTMENT OF EDUCATION, RICHARD CORCORAN,
    in his official capacity as Commissioner of the Florida Department
    of Education, ORANGE COUNTY SCHOOL BOARD, MIAMI
    DADE COUNTY SCHOOL BOARD, HILLSBOROUGH
    COUNTY SCHOOL BOARD, PALM BEACH SCHOOL BOARD,
    BROWARD COUNTY SCHOOL BOARD, PASCO COUNTY
    SCHOOL BOARD, ALACHUA COUNTY SCHOOL BOARD and
    VOLUSIA COUNTY SCHOOL BOARD,

          Defendants.
    ________________________________________________________/

                            DECLARATION OF KRISTEN THOMPSON

            COMES NOW, Kristen Thompson and pursuant to 28 U.S.C. § 1748, declares under

    penalty of perjury that the foregoing is true and correct:

         1. My name is Kristen Thompson, and I am over 18 years old and have personal knowledge
            of the facts as stated herein.




                                           Exhibit "A"
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                                                                     Declaration of Kristen Thompson
                                                                                           Page 2 of 2

       2. I am the mother of P.T., my seven-year-old daughter who lives with Trisomy-18. Trisomy-
          18 also known as Edwards syndrome is when someone is born with an extra chromosome.
          Trisomy-18 causes severe developmental delays.

       3. P.T. has severe developmental delays and has a tracheostomy. A tracheostomy is an
          opening created at the front of the neck so a tube can be inserted into the windpipe (trachea)
          to help you breathe. P.T. is at a higher risk to get Covid-19 if people around her are not
          wearing masks.

       4. P.T. attends a public school in Alachua County and has an IEP and is on a modified
          curriculum also known as an access point curriculum.

       5. Her treating doctors and specialists have informed her parents that it is too dangerous to
          return to brick-and mortar school without such precautions as following the recommended
          CDC guidelines of mandatory masking and regular testing in schools. No one can
          guarantee her safety.

       6. P.T. cannot attend Florida Virtual School or any other virtual program as none provide
          FAPE; an Access Point Curriculum or the necessary supports, services and
          accommodations as identified in his IEP, including direct instruction from a special
          education teacher.

       7. While Alachua County School Board did put in place a mask mandate it is only for two
          weeks, P.T.’s parents now need to decide whether to return P.T. to public school and risk
          her life or leave the public school system.

       8. I am seeking a reinstatement of a “full panoply of services” including but not limited to
          requirements to follow CDC guidelines including the wearing of masks in schools and live
          synchronous and asynchronous instruction with the same curriculum as in person
          instruction and the ability to interact with a student’s teacher and peers equal to the options
          provided to nondisabled students.



    FURTHER DECLARANT SAYETH NAUGHT.



    ______________________________                            08/06/21
                                                         ____________________________
    Kristen Thompson                                     Date




                                          Exhibit "A"
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                                 Exhibit "A"
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                                 Exhibit "A"
